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  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                    Check if this is an
                                                                                                                                    amended filing




 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/22
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
 case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
 would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
 between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
 all of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
 more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
 every question.


  Part 1:   Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

  1.   Your full name

       Write the name that is on     Kewel
       your government-issued        First name                                                      First name
       picture identification (for
       example, your driver's        K.
       license or passport).         Middle name                                                     Middle name
       Bring your picture
       identification to your
                                     Munger
       meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)



  2.   All other names you have
       used in the last 8 years
       Include your married or
       maiden names and any
       assumed, trade names and aka Kable Munger
       doing business as names. dba Munger Investments
       Do NOT list the name of
       any separate legal entity
       such as a corporation,
       partnership, or LLC that is
       not filing this petition.


  3.   Only the last 4 digits of
       your Social Security
       number or federal             xxx-xx-8195
       Individual Taxpayer
       Identification number
       (ITIN)




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  Debtor 1   Kewel K. Munger                                                                           Case number (if known)



                                   About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

       Your Employer
  4.
       Identification Number
       (EIN), if any.
                                   EIN                                                           EIN



  5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                   2907 Oakley Street
                                   Bakersfield, CA 93311
                                   Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                   Kern
                                   County                                                        County

                                   If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                   above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                   notices to you at this mailing address.                       mailing address.



                                   Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




  6.   Why you are choosing        Check one:                                                    Check one:
       this district to file for
       bankruptcy                        Over the last 180 days before filing this petition,          Over the last 180 days before filing this petition, I
                                          I have lived in this district longer than in any              have lived in this district longer than in any other
                                          other district.                                               district.

                                         I have another reason.                                       I have another reason.
                                          Explain. (See 28 U.S.C. § 1408.)                              Explain. (See 28 U.S.C. § 1408.)




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  Part 2:    Tell the Court About Your Bankruptcy Case

  7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
       Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       choosing to file under
                                Chapter 7
                                    Chapter 11
                                    Chapter 12
                                    Chapter 13


  8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                          about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                          order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                          a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                          The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                          but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                          applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                          the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



  9.   Have you filed for
       bankruptcy within the
                                    No.
       last 8 years?                Yes.
                                               District                                  When                            Case number
                                               District                                  When                            Case number
                                               District                                  When                            Case number



  10. Are any bankruptcy
      cases pending or being
                                    No
      filed by a spouse who is      Yes.
      not filing this case with
      you, or by a business
      partner, or by an
      affiliate?
                                               Debtor                                                                   Relationship to you
                                               District                                  When                           Case number, if known
                                               Debtor                                                                   Relationship to you
                                               District                                  When                           Case number, if known



  11. Do you rent your              No.        Go to line 12.
      residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.

                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                          bankruptcy petition.




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  Part 3:    Report About Any Businesses You Own as a Sole Proprietor

  12. Are you a sole proprietor
      of any full- or part-time       No.       Go to Part 4.
      business?

                                      Yes.      Name and location of business

       A sole proprietorship is a
       business you operate as                   Munger Investments
       an individual, and is not a               Name of business, if any
       separate legal entity such
       as a corporation,
       partnership, or LLC.
                                                 2907 Oakley Street
       If you have more than one                 Bakersfield, CA 93311
       sole proprietorship, use a
       separate sheet and attach                 Number, Street, City, State & ZIP Code
       it to this petition.                      Check the appropriate box to describe your business:
                                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                        None of the above

  13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
      Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
      are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
      debtor or a debtor as          § 1116(1)(B).
      defined by 11 U.S. C. §         No.          I am not filing under Chapter 11.
      1182(1)?
      For a definition of small                  I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
      business debtor, see 11         No.       Code.
      U.S.C. § 101(51D).

                                      Yes.      I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                                 I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.      I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                                 choose to proceed under Subchapter V of Chapter 11.

  Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

  14. Do you own or have any
      property that poses or is
                                      No.
      alleged to pose a threat        Yes.
      of imminent and                          What is the hazard?
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                      If immediate attention is
      immediate attention?                     needed, why is it needed?

       For example, do you own
       perishable goods, or
       livestock that must be fed,             Where is the property?
       or a building that needs
       urgent repairs?
                                                                              Number, Street, City, State & Zip Code




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  Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                       About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
  15. Tell the court whether           You must check one:                                           You must check one:
      you have received a               I received a briefing from an approved credit                I received a briefing from an approved credit
      briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
      counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                           certificate of completion.                                    completion.
       The law requires that you
       receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
       credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
       you file for bankruptcy.
       You must truthfully check        I received a briefing from an approved credit                I received a briefing from an approved credit
       one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
       choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
       so, you are not eligible to         a certificate of completion.                                  of completion.
       file.
                                           Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
       If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
       can dismiss your case, you          payment plan, if any.                                         any.
       will lose whatever filing fee
       you paid, and your               I certify that I asked for credit counseling                 I certify that I asked for credit counseling services
       creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
       collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                           days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                           circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                           of the requirement.
                                                                                                         To ask for a 30-day temporary waiver of the requirement,
                                           To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                           requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                           what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                           you were unable to obtain it before you filed for             circumstances required you to file this case.
                                           bankruptcy, and what exigent circumstances
                                           required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                         with your reasons for not receiving a briefing before you
                                           Your case may be dismissed if the court is                    filed for bankruptcy.
                                           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                           If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                           still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                           You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                           agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                           developed, if any. If you do not do so, your case
                                                                                                         Any extension of the 30-day deadline is granted only for
                                           may be dismissed.
                                                                                                         cause and is limited to a maximum of 15 days.
                                           Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15
                                           days.
                                          I am not required to receive a briefing about              I am not required to receive a briefing about credit
                                           credit counseling because of:                                 counseling because of:

                                                Incapacity.                                              Incapacity.
                                                 I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                                 that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                                 making rational decisions about finances.                    decisions about finances.

                                                Disability.                                              Disability.
                                                 My physical disability causes me to be                       My physical disability causes me to be unable to
                                                 unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                                 by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                                 reasonably tried to do so.                                   do so.

                                                Active duty.                                             Active duty.
                                                 I am currently on active military duty in a                  I am currently on active military duty in a military
                                                 military combat zone.                                        combat zone.
                                           If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                           briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                           motion for waiver credit counseling with the court.           of credit counseling with the court.




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                                                          Certificate Number: 14751-CAE-CC-038870572


                                                                         14751-CAE-CC-038870572




                               CERTIFICATE OF COUNSELING

           I CERTIFY that on September 16, 2024, at 8:53 o'clock AM PDT, Kewel K
           Munger received from $$$$$$0$ BK Class, Inc., an agency approved pursuant to
           11 U.S.C. 111 to provide credit counseling in the Eastern District of California,
           an individual [or group] briefing that complied with the provisions of 11 U.S.C.
           109(h) and 111.
           A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
           copy of the debt repayment plan is attached to this certificate.
           This counseling session was conducted by internet.




           Date:   September 16, 2024                     By:      /s/Laura E Hauptman


                                                          Name: Laura E Hauptman


                                                          Title:   Certified Credit Counselor




           * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
           Code are required to file with the United States Bankruptcy Court a completed certificate of
           counseling from the nonprofit budget and credit counseling agency that provided the individual
           the counseling services and a copy of the debt repayment plan, if any, developed through the
           credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
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                 9/12/24
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  Debtor 1   Kewel K. Munger                                                                                Case number (if known)




  For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
  represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                  for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
  If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
  an attorney, you do not need    schedules filed with the petition is incorrect.
  to file this page.
                                                                                                     Date         9/17/24
                                  Signature of Attorney for Debtor                                                MM / DD / YYYY

                                  Riley C. Walter 91839
                                  Printed name

                                  Wanger Jones Helsley
                                  Firm name

                                  265 E. River Park Circle, Ste. 310
                                  Fresno, CA 93720-1563
                                  Number, Street, City, State & ZIP Code

                                  Contact phone     (559) 233-4800                             Email address         rwalter@wjhattorneys.com
                                  91839 CA
                                  Bar number & State




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                                                                        20 Largest Non‐Insider
                                                                         Unsecured Creditors




       Name                                   Address1                   Address2                             City         State Zip        ClaimAmt
       Whitney, Thompson & Jeffcoach LLP      Mandy Jeffcoach            8050 N. Palm Ave, #110               Fresno       CA 93711‐0000        $7,995.00
       U.S. Bank                              Cardmember Service         PO Box 6352                          Fargo        ND 58125‐0000 TBD
       Littau Harvester, Inc.                 855 Rogue Ave.                                                  Stayton      OR 97383‐0000 TBD
       Kevin Noell, CPA                       202 South Meadow Rd.                                            Glenbrook NV 89413‐0000 TBD
       Jaffe Family Law Group                 Sandra P. Mendell          1901 Avenue of the Stars, Ste. 680   Los Angeles CA 90067‐0000 TBD
       Farm Credit Services of America, PCA   5015 South 118th Street                                         Omaha        NE 68137‐0000 TBD
       Coleman & Horowitt, LLP                Stacy H. Bowman            2032 17th Street                     Bakersfield CA 93301‐0000 TBD
       Chase Freedom                          Cardmember Services        PO Box 6294                          Carol Stream IL    60197‐0000 TBD
       CBIZ Forensic Consulting Group, LLC    William A. Duerksen        5060 California Ave.                 Bakersfield CA 93309‐0000 TBD
